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                                        JUDGE LEINENWEBER
                                        MAGISTRATE JUDGE SCHENKIER
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